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UNITED STATES OF AMERICA,

        V.                                         CRIMINAL NO. 2004-10004-PBS

ESSAM MOHAMMED ALMOHANDIS.



             OPINION1 ON MOTION
           FOR PRODUCTION OF NOTES
       OF DEFENDANT’S STATEMENTS (#28)

COLLINGS, U.S.M.J.

        Defendant’s Motion for Production of Notes of Defendant’s Statements

(#28) raises the issue of whether the defendant is entitled, under Rule 16(a)

of the Federal Rules of Criminal Procedure, to production of the rough notes

of agents who interviewed him. The defendant has been provided with the

agents’ formal reports of the interviews which, presumably, were written after

the interviews and based on the rough notes and the agents’ recollections.

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         An Order allowing the motion entered on February 19, 2004. Time was of the essence since trial was
scheduled to com men ce and, in fact, comm enced on February 2 3, 2004. In the Ord er, the Court indicated that
it intended to write an Opinion giving the detailed reasons for the allowance of the motion.
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      The facts are that the defendant, a citizen of Saudi Arabia, was arrested

at Logan International Airport, Boston after he arrived on a Lufthansa flight

from Riyadh, Saudi Arabia via Frankfurt on January 3, 2004. He was arrested

before he was admitted to the United States when border agents discovered

three “devices” in his backpack which the government claims are “incendiary”

or “explosive” devices. He was charged in a complaint with possessing the

devices on the aircraft as well as making false statements to government

agents that the devices were artist’s pens or crayons.

      On January 13, 2004, the Grand Jury returned a two-count indictment

against the defendant. Count Two of that indictment alleges that:

                   On or about January 3, 2004, at Boston, in the
            District of Massachusetts,
                     ESSAM MOHAMMED ALMOHANDIS,
            in a matter within the jurisdiction of the executive
            branch of the Government of the United States,
            knowingly and willfully made materially false,
            fictitious or fraudulent statements or representations,
            to wit, that three explosive or incendiary devices in his
            possession were artist’s crayons or pens, in violation of
            18 U.S.C. § 1001(a)(2).

The allegedly false statements were made during the interviews of the

defendant by government agents at Logan Airport on January 3, 2004.

      Rule 16(a)(1), Fed. R. Crim. P., deals with disclosures which the

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government must make. Subsection (A) governs disclosure of “Defendant’s

Oral Statement,” and subsection (B) governs disclosure of “Defendant’s

Written or Recorded Statement.”

     Subsection (A) reads:

           (A) Defendant’s Oral Statement. Upon a defendant’s
           request, the government must disclose to the
           defendant the substance of any relevant oral statement
           made by the defendant, before or after arrest, in
           response to interrogation by a person the defendant
           knew was a government agent if the government
           intends to use the statement at trial.

Subsection (B) reads:

           (B) Defendant’s Written or Recorded Statement. Upon
           a defendant’s request, the government must disclose
           to the defendant, and make available for inspection
           copying, or photographing, all of the following:

           (i)    any relevant written or recorded statement of
                  the defendant if:

                  the statement is within the government’s
                  possession, custody or control; and

                  the attorney for the government knows - or
                  through due diligence could know - that the
                  statement exists;

           (ii)   the portion of any written record containing the
                  substance of any relevant oral statement made
                  before or after arrest if the defendant made the

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                 statement in response to interrogation by a
                 person the defendant knew was a government
                 agent; and

           (iii) the defendant’s recorded testimony before a
                 grand jury relating to the charged offense.

     In my judgment, Rule 16(a)(1)(A), Fed. R. Crim. P., is designed to deal

with the situation in which a defendant makes an oral statement to a

government agent in response to interrogation knowing that the person is an

agent. Regardless of whether or not the agent ever reduces the oral statement

to writing, the government must disclose the “substance” of the oral statement

to the defendant if it intends to use the oral statement at trial. There is no

question but that the United States Attorney has complied with the obligation

to disclose the “substance” of the defendant’s oral statements in the instant

case; the “substance” is contained in the agents’ formal written reports which

have been turned over. But the important point is that even if the agents had

not written any reports, the government would still have had the obligation to

disclose the “substance” to the defendant in some other manner if the

government intended to use the statements at trial.       If there were oral

statements made by the defendant to a government agent which the

government was not going to use at trial, Rule 16(a)(1)(A) would not impose

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a duty to disclose them. However, as discussed infra, if the substance of the

oral statements was reduced to writing, Rule 16(a)(1)(B)(ii) would require

production.

      Rule 16(a)(1)(B)(ii), Fed. R. Crim. P., contains an additional obligation

to disclose “any written record containing the substance of any relevant oral

statements” made by the defendant. Unlike Rule 16(a)(1)(A), the obligation

to disclose exists regardless of whether or not the government intends to use

the statement at trial. Thus, under this provision, the United States Attorney

also would have had the obligation to turn over the agents’ formal written

reports because they were a “written record containing the substance of”

defendant’s oral statements to a government agent.

      That brings us to the issue raised by defendant’s motion in the instant

case, i.e., under Rule 16(a)(1)(B)(ii),    must the United States Attorney

disclose the agents’ rough notes of the interviews with the defendant? In my

judgment, the correct answer to the question is in the affirmative. The Rule

requires production of “any written record of the substance of any relevant

oral statement...”. The notes are “a” written record. They may not be the only

written record, but they certainly are “a” written record.


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        Rule 16(a)(1)(B)(ii) was added in 1991.2 The Advisory Committee

Notes to the 1991 amendments support this view. They provide, in pertinent

part:

                 The rule now requires the prosecution, upon request,
                 to disclose any written record which contains
                 reference to a relevant oral statement by the
                 defendant which was in response to interrogation,
                 without regard to whether the prosecution intends to
                 use the statement at trial. The change recognizes that
                 the defendant has some proprietary interest in
                 statements made during interrogation regardless of
                 the prosecutor’s intent to make any use of the
                 statement.

                 The written record need not be a transcription or
                 summary of the defendant’s statement but must only
                 be some written reference which would provide some
                 means for the prosecution and defense to identify the
                 statement.

1991 Advisory Committee Notes, reprinted at 134 F.R.D. 495 (1991).

In the instant case, the rough notes surely contain a “reference to a relevant

oral statement” and, as such, are a “written record” required to be disclosed.

        In addition, some recent case law supports the principle that rough notes

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         The pre-1991 version of Rule 16(a)(1)(A), to the extent that it required production of th e defendant’s
oral statements, only required the government to disclose “...the substance of any oral statement which the
government intends to offer in evidence at the trial made b y the defend ant wh ether before or after arrest in
respo nse to interrogation by any person then kno wn to the de fend ant to be a government a gent...”. There was
no provision for disclosure of any written record of oral statements. Thus, under the pre-1991 version of the
Rule, the agents’ rough notes would not be subject to production under Rule 16.

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of a defendant’s oral statements are subject to disclosure. United States v.

Molina-Guevara, 96 F.3d 698, 705 (3 Cir., 1996); United States v. Lilly, 2003

WL 168443, *1-2 (D.W.Va., 2003); United States v. Shane, 2001 U.S. Dist.

Lexis 6437, *48 (D. Kan., 2001); United States v. Griggs, 111 F. Supp. 2d 551,

553-556 (M.D. Pa., 2000); United States v. Carucci, 183 F.R.D. 614 (S.D.N.Y.,

1999). In fact, in both the Molina-Guevara and Carucci cases, the Government

took the position that the agent’s rough notes taken during the interrogation

of the defendant were discoverable at least during the pre-trial phase of the

case. See Molina-Guevara, 96 F.3d at 705; Carucci, 183 F.R.D. at 614-5.

      The post-1991 cases which hold that an agent’s rough notes of a

defendant’s oral statements are not producible do not appear to take note of

the 1991 change adding Rule 16(a)(1)(B)(ii) . In United States v. Muhammad,

120 F.3d 688, 699 (7 Cir., 1997), the Court cited its 1978 holding in United

States v. Batchelder, 581 F.2d 626, 635 (7 Cir., 1978), cert. granted, 439 U.S.

1066 (1979), reversed on other grounds, 442 U.S. 114 (1979), to the effect that

“[a] defendant is not entitled to an agent’s notes if the agent’s report contains

all that was in the original notes.” Muhammad, 120 F.3d at 699. It does not

appear from the Court’s opinion that any argument was made that the


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defendant was entitled to the notes pursuant to Rule 16(a)(1)(B)(ii), Fed. R.

Crim. P.

        The Fifth Circuit in United States v. Brown, 303 F.3d 582 (5 Cir., 2002),

cert. denied, 537 U.S. 1173 (2003), followed the Seventh Circuit’s decision in

the Muhammad case. Brown, 303 F.3d at 590. However, like the Seventh

Circuit, the Fifth Circuit made no mention of Rule 16(a)(1)(B)(ii).3 It is not

clear that in the District Court the defendant relied on that provision in seeking

the agent’s notes.             It is more likely that the defendant relied on Rule

16(a)(1)(A). In fact the Fifth Circuit mentions the 1991 Amendments in its

opinion but only as to the change to Rule 16(a)(1)(A), not the addition of Rule

16(a)(1)(B)(ii). Brown, 303 F.3d at 590, n. 18.

        There are three post-1991 cases in the Northern District of New York

which deal to differing degrees with the issue. In United States v. Walker, 922

F. Supp. 732, 743 (N.D.N.Y., 1996), the Court was dealing with a motion to

require agents to preserve their notes, a motion which was granted. In the

course of that discussion, the Court cited the text of Rule 16(a)(1)(A), made



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         It is worth noting that the petition for certiorari in the Brown case was based, in part, on an argument
that the Fifth Circuit did not consider the issue of whether disclosure was required by Rule 16(a)(1)(B)(ii).
See 2002 WL 32133818.

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no mention of Rule 16(a)(1)(B)(ii), and cited a pre-1991 case for the

proposition that “[i]n order to fully comply with Rule 16, the government only

needs to provide the defendant with the typewritten memoranda of interviews

prepared from the agent’s handwritten notes” citing United States v. Konefal,

566 F. Supp. 698, 708 (N.D.N.Y., 1983). Walker, 923 F. Supp. at 744.

      In United States v. Mango, 1997 WL 222367, *2 (N.D.N.Y., 1997), the

same judge who decided Walker reiterated the points which he had previously

made in the Walker case when confronted with a motion for order that the

government preserve the notes of its agents. Again, no mention was made of

Rule 16(a)(1)(B)(ii), and the motion to preserve the notes was allowed.

      Lastly, in United States v. Myers, 1997 WL 797507 (N.D.N.Y., 1997),

affirmed, 208 F.3d 204 (2 Cir., 2000) (unpublished), cert. denied sub nom.

Orcutt v. United States, 529 U.S. 1122 (2000), the District Court, relying on a

1989 Second Circuit opinion, states that the defendant “...is not entitled under

Rule 16(a)(1)(A) to discovery of notes of government agents made during the

interrogation of [the defendant].” Myers, 1997 WL 797507 *3 citing United

States v. Koskerides, 877 F.2d 1129, 1133 (2 Cir., 1989). Again, no mention




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is made of Rule 16(a)(1)(B)(ii).4

        In conclusion, I rule that an agent’s rough notes of an interview of a

defendant in circumstances in which the defendant, at the time of the

interview knew that the interviewer was a government agent, are required to

be produced under Rule 16(a)(1)(B)(ii), Fed. R. Crim. P., as a portion of any

written record containing the substance of any relevant oral statement” made

by the defendant. Hence, I allowed the Motion for Production of Notes of

Defendant’s Statements (#28) on February 19, 2004.


                                  /s/ Robert B. Collings
                                  ROBERT B. COLLINGS
                                  United States Magistrate Judge

February 27, 2004.




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         With all due respect, I disagree with the holding in United States v. Mebu st, 857 F. Supp. 609, 615
(N.D. Ill., 1994) that “...oral statements made by the defendant which are later memorialized by a government
agent are not discoverable under Rule 16.” Only pre -1991 preceden t is cited in sup port of th at ho lding. Id.
The Court did cite the post-1991 version of Rule 16(a)(1), includ ing (B )(ii), id., but did not discuss why the
age nt’s written memorialization of the defendant’s statements was not a “written record containing the
substan ce of [a] relevan t oral statem ent m ade b y the d efend ant.”

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